      Case 3:15-cr-00019-MCR        Document 54        Filed 06/16/15   Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                               Case No. 3:15cr19/MCR

JOSE ROBLEDO
____________________________/

                         ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there have been no timely objections, the plea of guilty of the Defendant,
JOSE ROBLEDO, to Count One of the Indictment is hereby ACCEPTED. All parties shall
appear before this Court for sentencing as directed.
      DONE and ORDERED this 16th day of June, 2015.



                                          s/   M. Casey Rodgers
                                         M. CASEY RODGERS
                                         CHIEF UNITED STATES DISTRICT JUDGE
